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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
ROXANN MARIE PADILLA,                  )            Case No. 22-12638 TBM
                                       )            Chapter 7
                        Debtor.        )
______________________________________ )
                                       )
DAVID V. WADSWORTH,                    )            Adversary Proceeding No. 23-1097 TBM
Chapter 7 Trustee,                     )
                                       )
                        Plaintiff,     )
                                       )
v.                                     )
                                       )
MAKWA FINANCE,                         )
                                       )
                        Defendant.     )


                    NOTICE OF DISMISSAL PURSUANT TO RULE 41


        David V. Wadsworth, chapter 7 trustee (“Trustee”), hereby provides notice of dismissal of
this proceeding pursuant to Fed. R. Civ. P. 41(a)(1)(A), made applicable herein by Fed. R. Bankr.
P. 7041. Dismissal without court order is appropriate because Defendant filed no responsive
pleading.

         DATED this 23rd day of June, 2023.

                                     Respectfully submitted,

                                     /s/ David V. Wadsworth
                                     ___________________________
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